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                    Exhibit A
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                           SUPREME COURT OF THE STATE OF NEW YORK
                                     NEW YORK COUNTY

         THREE AMIGOS HOLDINGS, INC.
         8 The Green, Suite 12516
         Dover, DE 19901

                       Plaintiff,

                vs.                                                 Index No. _____________

         MAXBEN HOLDINGS, LLC
         20 W 22nd Street, Suite 709
         New York, NY 10010

         Serve On: Idin Dalpour, Managing Director
         20 W 22nd Street, Suite 709
         New York, NY 10010

                       Defendant.


                                                    SUMMONS

         TO THE ABOVE-NAMED DEFENDANT:

                YOU ARE HEREBY SUMMONED and required to serve upon Plaintiff’s attorneys your

         answering papers to the Motion within the time set forth within the Notice of Motion annexed

         hereto. In case of your failure to answer, judgment will be taken against you by default for the

         relief demanded in the Notice of Motion.

                The basis of the venue designated is the residence of Defendant, which is New York

         County.

         September 18, 2023




                                          [signature on following page]




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                                                    SCHULMAN BHATTACHARYA, LLC
                                             By:      /s/ Koushik Bhattacharya
                                                    Jeremy W. Schulman (NYSB No. 2864494)
                                                    Koushik Bhattacharya (NYSB No. 5936000)
                                                    6116 Executive Boulevard, Suite 425
                                                    North Bethesda, Maryland 20852

                                                    and
                                                    3445 Winton Place, Suite 228
                                                    Rochester, New York 14623
                                                    Tel.: (240) 356-8550
                                                    Facsimile: (240) 356-8558
                                                    Email: jschulman@schulmanbh.com
                                                            kbhattacharya@schulmanbh.com

                                                    Counsel for Plaintiff




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                            SUPREME COURT OF THE STATE OF NEW YORK
                                      NEW YORK COUNTY

          THREE AMIGOS HOLDINGS, INC.


                         Plaintiff,

                 vs.
                                                                      Index No. 654562/2023

          MAXBEN HOLDINGS, LLC
          Registered Agent: Harvard Business Services, Inc.
          16192 Coastal Hwy
          Lewes, Delaware 19958

          Serve On: Idin Dalpour, Managing Director
          20 W 22nd Street, Suite 709
          New York, NY 10010

                         Defendant.


                                      NOTICE OF MOTION FOR SUMMARY
                                      JUDGMENT IN LIEU OF COMPLAINT

                PLEASE TAKE NOTICE that, upon the Affirmation of Jason Daniel and its

         accompanying exhibits, and the accompanying memorandum of law, Plaintiff Three Amigos

         Holdings, Inc. (“Plaintiff”), will move this Court at 2:00 PM on the 23rd day of October, 2023 at

         the Courthouse at 60 Centre Street, New York, New York, 10007, or as soon thereafter as counsel

         may be heard, for an Order: (a) pursuant to CPLR 3213, granting Plaintiff’s Motion for Summary

         Judgment in Lieu of Complaint against Defendant Maxben Holdings, LLC (“the Borrower”) in the

         amount of $549,250.00 (plus interest, continuing interest, and attorneys’ fees); (b) pursuant to

         CPLR 603(i), directing severance on the issue of Three Amigos’ attorneys’ fees for assessment

         purposes to be incorporated into a supplemental judgment so that immediate judgment can be

         entered on the principal sum; and (c) awarding any other relief as this Court deems just and proper.




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                PLEASE TAKE FURTHER NOTICE that, pursuant to CPLR §§ 3213 and 320(a),

         answering papers, if any, shall be served upon the undersigned no later than seven days before the

         above-stated return date.

         Dated: September 21, 2023



                                                             SCHULMAN BHATTACHARYA, LLC
                                                      By:    /s/ Jeremy W. Schulman
                                                             Jeremy W. Schulman (NYSB No. 2864494)
                                                             Koushik Bhattacharya (NYSB No. 5936000)
                                                             6116 Executive Boulevard, Suite 425
                                                             North Bethesda, Maryland 20852

                                                             and
                                                             3445 Winton Place, Suite 228
                                                             Rochester, New York 14623
                                                             Tel.: (240) 356-8550
                                                             Facsimile: (240) 356-8558
                                                             Email: jschulman@schulmanbh.com
                                                                     kbhattacharya@schulmanbh.com

                                                             Counsel for Plaintiff

         TO:    Maxben Holdings, LLC
                c/o Managing Director Idin Dalpour
                20 W. 22nd Street, Suite 709
                New York, New York 10010




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                                                    SUPREME                         COURT                  OF        THE          STATE             OF       NEW YORK
                                                                                             NEW YORK                             COUNTY

          THREE              AMIGOS                 HOLDINGS,                         INC.
          8 The        Green,           Suite        12516
          Dover,         DE          19901




                                             Plaintiff
                                                                                                                                                    Index       No.
                         vs.




          MAXBEN                    HOLDINGS,                       LLC
          20    W 22nd               Street,        Suite         709
          New         York,          NY        10010


          Serve        On:
          Registered                 Agent:              Harvard                Business                   Services,                Inc.
          16192         Coastal              Hwy
          Lewes,         Delaware                  19958


                                             Defendant.




                                    AFFIRMATION                                OF JASON                        DANIEL                 IN      SUPPORT                 OF   PLAINTIFF
                                                    THREE                  AMIGOS                      HOLDINGS,                       INC.'S           MOTION              FOR
                                                     SUMMARY                              JUDGMENT                           IN     LIEU           OF      COMPLAINT


          STATE              OF MARYLAND                                                          )
                                                                                                  ) ss.:
          COUNTY                    OF MONTGOMERY                                                 )


          JASON               DANIEL,                    being          duly        sworn,            deposes             and     states      as follows:


          1.             I am          the       Managing                 Partner            of        Plaintiff            Three          Amigos          Holdings,        Inc.      ("Three          Amigos"),


          Plaintiff            in     this       action,           which             is    a Delaware                       corporation             that      maintains         its   principal          place       of



          business            at 8 The            Green,           Suite            12516,            Dover,         DE         19901.        As    such,      I am fully       familiar        with      the    facts



          and      circumstances                     set        forth      herein.           I submit                this       Affirmation             in    support      of   Plaintiff's        Motion           for



          Summary                   Judgment               in    Lieu          of     Complaint                    (the      "Motion")              against      Defendant            Maxben            Holdings,


          LLC         (the      "Borrower").




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          2.              On       or     about         August                 1, 2022,              Three               Amigos            loaned             the         Borrower               the      principal                  sum         of



          $500,000.00,                   pursuant             to        the        terms      of     a loan              agreement                 (the       "L_oan").             A true          and        correct               copy        of


          the    Loan          is appended                   hereto            as Exhibit                A.


          3.              The         Loan            required                the      Borrower                     to     pay          interest             on      the      Loan's              principal                balance               of


          $500,000.00                   at the        rate        of     5% per            annum              and        to make           monthly                 interest         payments               to Three              Amigos



          beginning              on August               31,           2022          and     until        the        Loan           is paid        in full.          Ex.      A at         1.


          4.              The         Loan        set        forth           a maturity              date            of August                 1, 2023,             at which               point         the    Borrower                    was


          required             to repay          the     Loan's                remaining                 principal               balance            in full.          Ex.        A at      1.


          5.              The         Borrower               failed           to pay          the    Loan             by       the      maturity             date.


          6.              In     an      attempt             to        resolve          the        Borrower's                       outstanding                   debt      of      $535,000.00                  due           under          the



          Loan,         on       or      about         August                  17,     2023,             Three            Amigos               and        the        Borrower                   agreed         to        enter         into           a


          Confidential                   Settlement                    Agreement                and           Mutual                Release          (the          "Agreement"1).                      A true             and         correct



          copy       of the        Agreement                      is appended                  hereto               as Exhibit              B.


          7.              Pursuant               to     the        Agreement,                      the        Borrower                  expressly                 acknowledged                      that        had            not      "fully

          repaid"                                                                                                                                                                                   Amigos'
                          its     debt       to the           Borrower                  due        under            the        Loan,       and,         in    return          for     Three                                 agreement


          to release            its claims             against               the     Borrower                 for    breaching               the     Loan,            the     Borrower              promised                   to "timely


          pay"
                     Three            Amigos            the            principal             sum         of     $460,000.00                      (the        "Settlement                   Amount")                 in     accordance


                                                                                                   terms."
          with      the      Agreement's                     "new             payment                                    Ex.        B at 1; id. at §§ 2.1-2.2.

                                                                                                                                                                                             pay"
          8.               The          Agreement's                      payment              terms             are        clear:        the       Borrower                 "shall                       Three           Amigos               the


                                                                                                              2023"
          amount           of     $135,000.00                          "by     August           31,                            (the      "First          Payment").                  Id.        at 6. The           Agreement                     is


                                                                                                                                                                            full"
          equally          clear         that,        if Borrower                    fails     to remit                  the    First      Payment                  "in                 in      an amount                 of     time         that




          1
               Pursuant          to the          Agreement,       the Borrower  may                                             disclose           the       terms          of the         Agreement                 "to       the      extent
                                                          terms."
          necessary              to enforce           its            Ex. B at § 2.3.

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                                                                         days"
          "exceeds             5 (five)          business                              (the      "First            Grace           Period"),           or by         September                      7, 2023,          the      Borrower


          is required               to     immediately                     pay      Three             Amigos                  the     First        Payment,                  plus        "a      reasonable                 penalty            of


                                                                  interest,"
          fifteen         percent             (15%)                                       or     $20,250.00                     (the       "First          Late             Fee"),            for     a total              payment             of


          $155,250             due         to Three              Amigos            on      September                     7, 2023           (the       "First           Penalty            Payment").


          9.              While            the      Agreement                    does          not         require            Three       Amigos                to      demand                 payment                or    to    provide


          notice        to the           Borrower                 of the         Borrower's                    failure          to    comply             with          the        Agreement's                    payment              terms,


          see    Ex.      B,     on August                   31,        2023,      Three             Amigos                 (through            counsel)               emailed             the       Borrower's                  counsel,


          Marshall              Dworkin,                   Esq.          ("Mr.          Dworkin"),                       at     Mr.       Dworkin's                     email            address               set      forth         in    the



          Agreement,                  to    demand                the     First        Payment.                    On August                 31,     2023,           Mr.          Dworkin                 responded              to   Three


          Amigos'                                                                                                                                                                                                                              5-
                               counsel              via         email       and        stated              that,        pursuant           to      the     Agreement,                      the        Borrower                 had     "a


                                                       period"                                                                                                                                                                         cure"
          business            day        grace                            to make               the        First        Payment               "and       an additional                     5 business                 days       to



          any       failure       to timely                make           the     First         Payment                 by     remitting             the       First         Penalty             Payment.


          10.             The       Borrower                    failed      to remit              the        First       Penalty           Payment               on         September                  7, 2023.


          11.             Pursuant               to       the     Agreement,                    upon           the       Borrower's                  failure           to     timely            remit          the     First      Penalty


          Payment              within         ten         (10)      business              days        of August                 31,      2023,        or by          September                      15, 2023           (the      "Second


                                                                                                                        "immediately"
          Grace        Period"),              the      Borrower                  was      required                 to                                      pay        Three             Amigos             the      "entire       balance


          of    the     Settlement                  Amount,                together              with          fifteen             percent           (15%)            interest            on        the     total       amount             then


          outstanding."
                                           Ex.        B at § 2.2.               Accordingly,                       on       September                15,       2023,          the        Borrower                was        required           to



          pay       Three        Amigos                the       entire         $460,000.00                        Settlement             Amount,                plus             the    First        Late        Fee       of    $20,250


          (which          amounts                to       $480,250.00),                        together              with          15%        interest           on         the     amount                of     $480,250.00                 (or



          $72,037.50)                 (the       "Second                 Late     Fee"),             for     a total          of $552,287.50                     due         to Three               Amigos            by      September



          15,      2023        (the        "Final          Payment").                  Ex.        B at §§ 2.1-2.2.




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            see   Ex.     B,     on     September                   15,   2023,        Three         Amigos               (through                               emailed          Mr.        Dworkin            to
                                                                                                                                         counsel)


            demand        the       Final         Payment.


            13.          The     Bonower                 failed      to make           the Final           Payment           on September                    15, 2023.


            14.          Upon         executing               the      Agreement,                  which       is     governed                      New           York                  the
                                                                                                                                         by                                  law,                  Borrower


            expessly           consented              to      the     exclusive             jurisdiction             of     the      Courts          of     the      State        of    New           York      to


            adjudicate          any     dispute            arising        from        the     Agreement.              Ex.       B at § 3.3.               The      Borrower             further         agreed

                                     Amigos'             attorneys'
            to pay      Three                                                  fees     incurad            in this        action      upon          this        Court's                        that     Three
                                                                                                                                                                             fmding


           Amigos         is the       "prevailing                party."Id.          at § 3.11.


            15.          As    of     September                15,                the        Borrower           is indebted             to Three                 Amigos           in   the         amount       of
                                                                       2023,


           $552,287.50,               calculated             as: $460,000.00                   in unpaid            principal         due      for        the     Settlement                                  plus
                                                                                                                                                                                        Amount;


           $20,250.00           due         for    the      First    Late                   plus    $72,037.500               due      for     the        Second          Late                 plus         Three
                                                                               Fee;                                                                                                 Fee;

           Amigos'         attorneys'
                                                   fees,      pursuant          to the Agreement


           I hereby       swear         and        affirm         the above           under                      of perjury            this        18th              of September,                   2023.
                                                                                                   penalty                                                  day




                                                                                                                     laspfbame

                                                                                                                     Managing            Partn                     Three         Amigos,             Inc.


            STATE         OF MARYLAND
            COUNTY              OF      (¾               a           , to wit:


            Swo           to    and         subscribed               before       me         by0o              0t(affiant)                     on         this                    day         of




                                                        EllZABETH   ANN PASTRAN
                                                                                                                                               .
                                                              NOTARY PUBuc                                           No                       he
                                                         MONTGOMERY COUNTY
                                                                MARYLAND                                             My       Commission                   expires:          ÂOve d &
                                                                                                                                                                               \
                                                     My Commission Expires April06,2025




                                                                                                           4




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                          CONFIDENTIAL                        SETTLEMENT                       AGREEMENT                            AND         MUTUAL                 BRIR            ASE

                          This     Confidential              Settlement          Agreement           and Mutual                    Release       ("Settlement                  Agreement")            is
              between       Three        Amigos           Holdings,       Inc.     ("Lender")               and Maxben                  Holdings,            LLC      ("Maxben").


                          WHEREAS,                  LENDER            and MAXBEN                   had a contractual                       relationship             since       approximately
              August       1, 2020,       under      which         the LENDER              loaned           MAXBEN                  certain      sums that have not been fully

              repaid;

                          WHEREAS,                  LENDER            contends           MAXBEN                is in breach                 of the loan          agreement               and owes
              $535,000          in principal         and accumulated                interest        but has agreed                    to resolve            this matter          for $460,000
              pursuant       to the payment                plan     detailed      below;

                          WHEREAS,                  MAXBEN                disputes          that       it     owes            LENDER             $535,000                in     principal          and
              accumulated           interest,        but agrees         to resolve         this     matter             for $460,000             pursuant            to the payment                 plan
              detailed      below        ("Sgttlement              Amosnt");

                          WHEREAS,                  to avoid         the costs,         burdens,            and        inconvenience                 of    litigation,          LENDER             and
              MAXBEN              (the     "Parties")         have      agreed      to resolve              their       disputes           consistent         with       the new          payment
              terms      of this     Settlement              Agreement,           under        which         timely           payment           is in return             for    the release           of
              breach      of contract            claims      LENDER             have     against        Maxben;

                          NOW,           THEREFORE,                  and in consideration                    of the tenns               and conditions                set forth         herein,     the
              Parties     agree     to settle        their     disputes        on the following                   terms:

              1.0         DEFINITIONS:                       The     capitalized          terms      used in this Settlement                              Agreement             have      the

              following         meanings           for purposes           of this       Settlement            Agreement                 only:

                                                          Matters"
                           1.1.          "Settled                         mean      any        and all past,                 present,        or future         claims,          counterclaims

                                         demands,            actions,      causes         of    action,             and       liability,        including             but       not      limited      to
                                         damages,          prejudgment            and statutory               interest,            expense,          costs,      statutory            penalties,      or

                                         attorney         fees, whether          known          or unknown,                   asserted        or unasserted,                  that arise        under,
                                         relate     to, or concern         the payments                owed            and/or        the loans            at issue between               LENDER
                                         and      MAXBEN,               with      the     exception               of        any     action      to        enforce        the     terms       of     this
                                         Settlement           Agreement.

              2.0         CONSIDERATION:                              In consideration              of the mutual                   promises              set forth      in this        Settlement
              Agreement            and      for    other      good      and      valuable          consideration,                   receipt      and         sufficiency              of which        is

              hereby      acknowledged,                 LENDER            and MAXBEN                    agree           as follows:

                          2.1            Payment.            MAXBEN              shall     pay      LENDER                    the Settlement                Amount             in the amounts
                                         and      at the times          listed      in Attachment                      A.      The      monthly            payments             shall      be made
                                         payable          in accordance           with     the wire           instructions                 attached         hereto       as Attachment                B.
                                         Maxben           shall,     in its sole         and absolute                  discretion,           prepay         any of the payments                      set
                                         forth     in Attachment               A without          penalty.

                          2.2            Late     Payment           or Non-Payment.                 Aside           from          the payment             owed      on August             31, 2023,
                                         full     payment          of amounts           owed       in Attachment                    A are due on the fifteenth                           (15*)      day




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                            of every         month.            If a payment                    due date             falls       on a weekend                   or a bank              holiday,          the
                            payment          due date will               be the next                  available               business            day.

                            If   failure      to pay           in     full     exceeds                5 (five)            business               days       (the       "Grace          Period"),             a
                            reasonable             penalty          of fifteen           percent            (15%)             interest          of the amount                owed        that month
                            to LENDER                will      be added             to the total                 amount             owed         for that month                only,

                            If failure        to pay           in full        exceeds                10 (ten)            business               days,     the entire            balance          of the
                            Settlement         Amount                is due immediately,                           together              with     fifteen        percent        (15%)          interest
                            on the total             amount           then         outstanding,                    excluding               any payments                  that       have       already
                            been penalized                  for failing            to cure within                    the Grace              Period.

                     2.3    Confidentiality.                    The          terms        of         this        Settlement                Agreement,                  the     amount            of     the
                            Payment          contained               in this        Settlement                   Agreement,                 and the negotiations                         leading up
                            to    them,        including               any         drafts             of     this         Settlement                Agreement,                  shall       be kept

                            confidential,                and    not         disclosed                by     LENDER                    or MAXBEN,                       or     their      respective

                            counsel,          or     their       principals,                  either             directly           or     indirectly,             except           as     expressly
                            provided          in this          paragraph.                     Disclosure                 of     the      amount           of     the     Payment               shall     be
                            permitted          to those             legal     or business                   consultants                  of LENDER                  and MAXBEN                         who

                            reasonably             need        to know             the infonnation                        in order              to provide          their       services          to the

                            disclosing             entity;      the      entity          retaining                such         consultants               shall      be liable            under         this
                            Settlement               Agreement                 for        any             subsequent                     disclosure            by       such          consultants.
                            Disclosure             shall       also     be permitted                       upon        receipt            of a subpoena                 with        notice        to the
                            other     party        for      the opportunity                    to file           any motion                to quash            or for protection,                     upon
                            order     of a court,            or as required                   or requested                    by a governmental                     department,                body      or
                            agency.          LENDER                  and MAXBEN                            also      may         disclose          the terms             of this         Settlement

                            Agreement,               including               the        amount              of     the        Payment             contained             in    this       Settlement

                            Agreement,              to the extent              necessary                   to enforce               its terms.

                     2.4    LENDER             Release.              Upon          receipt            of the full              Settlement               Amount,              LENDER             hereby
                            releases        and forever               discharges                Maxben                 and its principal                    form        any and all              Settled
                            Matters.

                     2.5    MAXBEN                  Release.                Upon          payment                 by      MAXBEN                    of    the       Settlement                Amount,
                            MAXBEN                 hereby           releases            and forever                 discharges                  the LENDER                   from        any     and all
                            Settled        Matters.

                      2.6   Complete           Bar         Other       Than             To Enforce                  Settlement                  Agreement.               Upon          payment            of
                            the full        Settlement              Amount,              the release                in this         Settlement              Agreement                 shall     forever
                            be a complete                bar to the commencement                                     or prosecution                     of any action            or proceeding

                            by LENDER                 or MAXBEN                         for the Settled                  Matters,           with        the exception                 of any action
                            to enforce         the terms              of this           Settlement                Agreement.

              3.0     GENERAL         TERMS:

                      3.1   Change          or Modification.                       No change                 or modification                      to this        Settlement              Agreement
                            shall      be     binding            unless            it    is     in        writing             and        executed           by      both        LENDER                  and




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                           MAXBEN.                For the avoidance               of doubt,         this excludes                    agreements                 by email.           There
                           are no verbal             understandings              between          the Parties                with         respect         to the terms             of this
                           Settlement         Agreement.

                     3.2   Legal      and Other          Costs.       LENDER             and MAXBEN                         will     each pay their                    own      legal      and
                           other      costs and expenses               incident         to this Settlement                    Agreement,                  including             legal      and
                           other      costs and expenses                incurred.

                     3.3   Governing             Law.      Jurisdiction.          and       Venue.               This        Settlement                Agreement                 shall       be
                           construed         with       the laws        of the State            of New            York.             All      parties           to this       Settlement
                           Agreement             consent        to the exclusive               jurisdiction                of the courts               of the State               of New
                           York       for any dispute              arising     under      or relating                to this       Settlement               Agreement.

                     3.4   Authority         to Enter       into     Settlement.          LENDER                  and MAXBEN                         and their           undersigned
                           representatives              hereby        represent         and warrant                  that     they         are authorized                  to bind          the
                           entities        on whose        behalf       they     enter    into     this         Settlement                Agreement.               LENDER                  and
                           MAXBEN                further        warrant          and     represent              that        the      claims,           suits,          rights      and/or
                           interests        which       are the subject            matter        of this          Settlement                 Agreement                 are owned             by
                           the Party         asserting          the same         and have          not     been          assigned,               transferred,             or sold          and
                           are free of encumbrance.

                     3.5   Effective         Date.       This       Settlement          Agreement                shall       be effective                 upon         the execution
                           of the Settlement               Agreement             by LENDER                 and MAXBEN.

                     3.6   Compromise               of Disputed           Claims.         This      Settlement                 Agreement                  is a compromise                     of
                           disputed         claims.        The      terms      and conditions                   of this        Settlement                 Agreement               and the
                           negotiations           leading        up to it am not to be construed                                   as an admission                      of liability          or

                           wrongdoing             by     LENDER              or MAXBEN.                   LENDER                    and MAXBEN                          acknowledge
                           that     this    Settlement           Agreement             is entered          into         in good             faith     and        for     no collusive
                           purpose.           The       Parties        further         recognize           and          agree             that      neither        the       settlement
                           memorialized                by this      Settlement           Agreement,                  nor     the      fact        of the settlement                     itself,
                           constitutes         precedent            of any sort          for the resolution                        of any other                 claim,       dispute          or
                           lawsuit         brought       by any party             against        the Parties                being          released            in this       Settlement
                           Agreement.             Neither          of the Parties         shall     be considered                         to be a prevailing                  party        as a
                           result      of this     settlement.

                     3.7   Provision          Void         or      Unenforceable                 Should               any      provision                  of     this        Settlement
                           Agreement             be     found        to be void           or     unenforceable,                      it     shall      be       severed,          and       the
                           remainder          of the       Settlement            Agreement               will        remain           in full         force       and        effect,        and
                           shall      be interpreted            to give      effect      to the intent               of both          LENDER                   and MAXBEN                     as
                           expressed          in the Settlement                Agreement             to the maximum                              extent        permitted          by law.
                           Moreover,             the    void     or unenforceable                  part         of     the     Settlement                 Agreement               will be
                           modified          to the extent            necessary          to render              it valid           and enforceable,                     preserving            to
                           the fullest        extent       permissible           the intent        of the Parties                   set forth          in this         Agreement.




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                     3.8           Binding       Effect.          Notwithstanding                   anything          else        in    this   Settlement            Agreement,
                                   LENDER             and MAXBEN                 intend       to be bound            by this Settlement                Agreement,          and its
                                   provisions         are binding            upon      each        of them,          their       principals,          and    their    respective

                                   successors,         assigns,       attorneys        and any other             representatives.

                     3.9           Noticç.       When       any of the Parties                desire    to give           notice        to the other,       such notice     must
                                   be in writing.             Such        notice,     as well          as any        and      all questions            regarding        monthly
                                   payments,          adherence         to this agreement,               or terms            addressed         herein,      shall    be directed
                                   to the following:

                                                For   LENDER



                                                            Koushik          Bhattacharya,             Esq.
                                                            Schulman             Bhattacharya,             LLC
                                                            6116      Executive            Boulevard,          Suite         425
                                                            North       Bethesda,           Maryland          20852
                                                            kbhattacharva@schulmanbh.com


                                                For MAXBEN


                                                            James         P. Chou,        Esq.
                                                            Marshall        O. Dworkin,   Esq.
                                                            Moritt        Hock & Hamroff,    LLP
                                                              1407 Broadway,                Suite      3900
                                                            New       York,         New     York       10018
                                                              ichouralmoritthock.com
                                                            mdworkin@moritthock.com


                     3.10          Non-Disparagement                       The      Parties        agree      that        they         and   their principals,    officers,
                     directors,    employees,                  and/or         agents        will       not     make           any         disparaging      statements       or
                     representations,    either                directly       or     indirectly,        whether       orally              or in writing,       by word      or
                     gesture,       to any      person        whatsoever,            about        the other      party or its attorneys,                     representatives,
                     affiliates,       directors,         officers,        principals,            employees,       or agents.    For the                     purpose     of this
                     paragraph,          a disparaging      statement   or representation   is any                                           communication             which,       if
                     publicized         to another,   would     cause or tend to cause the recipient                                           of the commimication                 to
                     question        the business          condition,          integrity, competence,      good                          character,      or product       quality
                     of the person            or entity     to which          the communication      relates.


                     3.11          Enforcement            of Agreement/Attorney's                       Fees         In      any legal    proceeding      to enforce
                                                                                                                                               attorneys'
                     this    Agreement,            the prevailing             party       shall     be awarded               its reasonable                 fees and
                     expenses         from      the non-prevailing               party.        A prevailing      party is defined                      as a party       in whose
                     favor    a final        judgment         is rendered           by a Court         of competent    jurisdiction.




                                                      [This     space       has been left intentionally                          blank]




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                                              Signed     this         day of Angest,      2023
                                              by:




                                              By: Idin
                                              For: Maxben                   If




                                              Signed
                                              by:
                                                         thin   i    day of Angest,      2023




                                              F     . Three Amigos                Inc.



                                              Signed     this        day of Augsat,      2823
                                              by:



                                              By: ScotFT1 oker
                                              For: Three Amigos      Hokiings,    Inc.



                                              Signed   this          day of August,      2023
                                             by:




                                               o                        idings,   Inc.




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                                                           ATTACHMENT            A




                  1)   MAXBEN       shall   pay LENDER     $135,000.00     by August     31, 2023.


                  2)   MAXBEN       shall   pay LENDER     $75,000,00     by September     15, 2023.

                                                                                  15*
                  3)   MAXBEN       shall pay LENDER       $50,000,00      by the       day of each subsequent   month

                       (beginning   October  2023) until   LENDER        is paid a total of $460,000.00




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                           SUPREME COURT OF THE STATE OF NEW YORK
                                     NEW YORK COUNTY

          THREE AMIGOS HOLDINGS, INC.
          8 The Green, Suite 12516
          Dover, DE 19901


                       Plaintiff,
                                                                   Index No. _____________
                vs.


          MAXBEN HOLDINGS, LLC
          20 W 22nd Street, Suite 709
          New York, NY 10010

         Serve On:
         Registered Agent: Harvard Business Services, Inc.
         16192 Coastal Hwy
         Lewes, Delaware 19958

                       Defendant.


                        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF
                         THREE AMIGOS HOLDINGS, INC.’S MOTION FOR
                         SUMMARY JUDGMENT IN LIEU OF COMPLAINT


                                    SCHULMAN BHATTACHARYA, LLC

                                      6116 Executive Boulevard, Suite 425
                                        North Bethesda, Maryland 20852
                                                       and
                                         3445 Winton Place, Suite 228
                                          Rochester, New York 14623
                                          Telephone: (240) 356-8550
                                           Facsimile: (240) 356-8558
                                    E-mail: kbhattacharya@schulmanbh.com

                                Counsel for Plaintiff Three Amigos Holdings, Inc.




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                    Plaintiff Three Amigos Holdings, Inc. (“Three Amigos” or “Plaintiff”), by and through

          undersigned counsel, respectfully submits this memorandum of law in support of its motion (the

          “Motion”) for an order: (a) pursuant to CPLR 3213, granting summary judgment in favor of Three

          Amigos and against Defendant Maxben Holdings, LLC (the “Borrower”); (b) pursuant to CPLR

          603(i), directing severance on the issue of Three Amigos’ attorneys’ fees for assessment purposes

          to be incorporated into a supplemental judgment so that immediate judgment can be entered on

          the principal sum; and (c) awarding any further relief as this Court deems just and proper.

                                           PRELIMINARY STATEMENT1

                    This action arises from the Borrower’s undisputed failure to pay Three Amigos a single

          dollar of the principal amount of $460,000.00, plus accumulated interest and fees, due under a

          Confidential Settlement Agreement and Mutual Release executed by and between Three Amigos

          and the Borrower on or about August 17, 2023 (the “Agreement”).2

                    As recited in the Agreement itself, Three Amigos agreed to enter into the Agreement when

          the Borrower failed to repay a loan from Three Amigos in the original principal amount of

          $500,000.00, pursuant to the terms of a loan contract between Three Amigos and the Borrower

          dated August 1, 2022 (the “Loan”).3 The Agreement is clear: Borrower promised to “timely pay”

          the Borrower the principal amount of $460,000.000 (the “Settlement Amount”) in accordance with

          the Agreement’s unambiguous “payment terms,”4 which required the Borrower to make its first


          1
          Three Amigos respectfully directs this Court to the Affidavit of Jason Daniel (hereinafter, the
         “Daniel Aff.”) filed herewith for a recitation of the facts and contracts demonstrating Three
         Amigos’ entitlement to judgment as a matter of law. Unless otherwise indicated, capitalized terms
         herein are used within the same manner and meaning as in the Daniel Aff.
          2
              Daniel Aff. ¶¶ 6-15 & Ex. B (the “Agreement”).
          3
              Daniel Aff. ¶¶ 2-6 & Ex. A (the “Loan”) at 1; Ex. B at 1.
          4
              Daniel Aff. ¶ 7 & Ex. B at 1.
                                                            2



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          $135,000.00 payment to Three Amigos by August 31, 2023 (the “First Payment”).5 Upon the

          Borrower’s failure to remit the First Payment within five (5) business days (the “First Grace

          Period”), the Borrower was required to remit the First Payment, plus “a reasonable penalty” of

          15%, or $20,250.00 (the “First Late Fee”), for a total of $155,250 due to Three Amigos by

          September 7, 2023 (the “First Penalty Payment”).6 The Borrower failed to make the First Penalty

          Payment.7

                    Pursuant to the Agreement, upon the Borrower’s failure to make the First Penalty Payment

          within ten (10) business days of August 31, 2023 (the “Second Grace Period”), the Borrower was

          required to pay Three Amigos the entire $460,000.00 Settlement Amount, plus the First Late Fee

          of $20,250 (which amounts to $480,250.00), together with 15% interest on the amount of

          $480,250.00 due under the Agreement (or $72,037.50) (the “Second Late Fee”), for a total of

          $552,287.50 due to Three Amigos by September 15, 2023 (the “Final Payment”).8

                    The Borrower has failed to remit any portion of the Final Payment; accordingly, there are

          no possible factual issues for this Court to resolve. Three Amigos respectfully submits that it is

          entitled to judgment as a matter of law against the Borrower in the amount of $552,287.50 for the

          Borrower’s undisputed failure to remit the Final Payment due under the Agreement—which

          qualifies as an instrument for the payment of money only— and further requests that this Court




          5
              Daniel Aff. ¶ 8 & Ex. B at §§ 2.1 & 2.4.
          6
              Id.
          7
              Daniel Aff. ¶ 10.
          8
              Daniel Aff. ¶ 11 & Ex. B at §§ 2.1-2.2.
                                                            3



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          award Three Amigos its attorneys’ fees incurred in this action upon finding that Three Amigos has

          prevailed, as required by the Agreement’s “prevailing party” provision.9

                                                UNDISPUTED FACTS

                     Three Amigos respectfully direct this Court to the Affidavit of Jason Daniel, Three

          Amigos’ agent, for the facts and instruments that mandate judgment as a matter of law in favor of

          Three Amigos.

                                                    ARGUMENT

                I.      Three Amigos is Entitled to Summary Judgment Pursuant to CPLR 3213.

                        A. The Agreement is an Instrument for the Payment of Money Only.

                     Pursuant to CPLR 3213, “when an action is based upon an instrument for the payment of

          money only [], the plaintiff may serve with the summons a notice of motion for summary judgment

          and the supporting papers in lieu of a complaint.” Cooperatieve Centrale Raiffeisen-

          Boerenleenbank, B.A. v. Navarro, 25 N.Y.3d 485, 491, 36 N.E.3d 80, 84 (2015) (quoting CPLR

          3213). A settlement agreement qualifies as “an instrument for the payment of money only” where,

          as here, the settlement agreement contains an unconditional promise to pay a sum certain over a

          stated period of time. See J.D. Structures, Inc. v. Waldbaum, 282 A.D.2d 434, 435, 723 N.Y.S.2d

          205, 206 (2d Dep’t 2001) (reversing trial court’s denial of 3123 motion and reasoning: “The

          appellant established that the respondents failed to make the payments required by the settlement

          agreement, which is an instrument for the payment of money only”).

                     Upon executing the Agreement, the Borrower unconditionally promised to pay Three

          Amigos the Settlement Amount in the sum certain of $460,000.00, plus interest and fees, in

          accordance with the Agreement’s unambiguous “payment terms” set forth in “Attachment A.”


          9
              Daniel Aff. ¶ 14 & Ex. B at § 3.11.
                                                           4



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          Daniels Aff. ¶¶ 7-8 & Ex. B at §§ 2.1-2.2. The Borrower breached the Agreement’s payment terms

         by failing to remit the First Payment on August 31, 2023, and has remained in (recurring) default

         ever since by refusing to pay the Final Payment. Daniels Aff. ¶¶ 7-15.

                  As the Agreement qualifies as an instrument for the payment of money only and the

          Borrower’s failure to make its contractually required payments is undisputed, Three Amigos is

          entitled to seek summary judgment from this Court pursuant to the expedited procedure set forth

          in CPLR 3213. See Waldbaum, 282 A.D.2d at 435; see also Cooperatieve, 25 N.Y.3d at 492.

                      B. Three Amigos is Entitled to Judgment Against the Borrower in the Amount
                         Requested.

                  A plaintiff seeking summary judgment on an “instrument for the payment of money only”

          establishes its prima facie entitlement to judgment as a matter of law by submitting the instrument

          and an affidavit of nonpayment. See I.P.L. Corp. v. Indus. Power & Lighting Corp., 202 A.D.2d

          1029, 1029, 609 N.Y.S.2d 472, 472–73 (4th Dep’t 1994). A defendant can only defeat summary

         judgment in the face of such a showing by “com[ing] forward with evidentiary proof showing the

         existence of a triable issue of fact with respect to a bona fide defense” to its nonpayment of the

         instrument. See Wehle v. Moroczko, 151 A.D.3d 1846, 1846–47, 57 N.Y.S.3d 322, 323 (4th Dep’t

         2017); see also Cooperatieve, at 492. Three Amigos easily satisfies its burden, and the Borrower

          cannot fulfill its own.

                  The plain and unambiguous terms of the Agreement, coupled with the undisputed facts

          (admitted by the Borrower upon executing the Loan and the Agreement) that the Borrower

          received $500,000.00 in loan funds from Three Amigos pursuant to the Loan and has failed to

          repay its outstanding debt of $460,000.00 to Three Amigos due under the Agreement, establish

          Three Amigos’ prima facie entitlement to judgment as a matter of law. Those instruments and

          undisputed facts establish that:
                                                          5



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               (i)     pursuant to the Loan, the Borrower: a) agreed to pay Three Amigos the principal

                       amount of $500,000 by the maturity date of August 1, 2023; and b) agreed to pay

                       interest on the remaining principal balance each month at the rate of 5% per annum;

                       (see Daniel Aff. ¶¶ 2-3 & Ex. A at pp. 1-2);

                (ii)   pursuant to the Agreement, the Borrower: a) expressly acknowledged that the Loan

                       remained “unpaid;” b) agreed to pay Three Amigos the Settlement Amount of

                       $460,000.00 in exchange for Three Amigos’ release of its breach of contract claims

                       against the Borrower for its nonpayment of the Loan; c) agreed to remit the First

                       Payment of $135,000.00 to Three Amigos by August 31, 2021, and, upon its failure

                       to timely remit the First Payment; d) agreed to remit the First Penalty Payment of

                       $155,250 to Three Amigos by September 7, 2023, and, upon its failure to timely

                       remit the First Penalty Payment; e) agreed to pay the First Late Fee of $20,250.00,

                       plus the Settlement Amount of $460,000.00, plus the Second Late Fee of

                       $72,037.50, to Three Amigos by September 15, 2023 (the “Final Payment”); and f)

                       agreed to pay Three Amigos’ attorneys’ fees incurred in this action upon this

                       Court’s finding that Three Amigos is the “prevailing party” in this action (see

                       Daniel Aff. ¶¶ 7-15 & Ex. B §§ 2.1; 2.2; 3.11); and

               (iii)   no portion of the Settlement Amount or the Final Payment has been paid, and, as

                       of September 15, 2023, the Borrower is indebted to Three Amigos in the total

                       amount of $552,287.50, calculated as: $460,000.00 in unpaid principal for the

                       Settlement Amount; plus $20,250.00 for the First Late Fee; plus $72,037.50 for the

                       Second Late Fee (calculated as 15% interest on the $480,250.00 due under the




                                                        6



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                        Agreement); plus Three Amigos’ attorneys’ fees, pursuant to the Agreement. (see

                        Daniel Aff. ¶¶ 13, 15).

                 Three Amigos has undisputedly established its entitlement to judgment as a matter of law.

         Three Amigos respectfully requests that this Court enter judgment in favor of Three Amigos and

         against the Borrower in the amount of $549,250.00, plus legal fees to be determined upon

         submission.

                                                  CONCLUSION
                 For the aforementioned reasons, this Court should GRANT Three Amigos’ motion for

          summary judgment against the Borrower in the amount of $552,287.50 and as to liability only

          against the Borrower for Three Amigos’ claim for attorneys’ fees; direct severance of Three

          Amigos’ claim for attorneys’ fees for assessment purposes, so that immediate judgment may be

          entered on the principal sum; and award any further relief as this Court deems just and proper.

          This Court should additionally schedule a hearing at its earliest convenience to determine the

          amount of attorneys’ fees and expenses to which Three Amigos is entitled.

          September 18, 2023




                                           [signature on following page]




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                                                             Respectfully submitted,

                                                             SCHULMAN BHATTACHARYA, LLC

                                                      By:      /s/ Koushik Bhattacharya
                                                             Jeremy W. Schulman (NYSB No. 2864494)
                                                             Koushik Bhattacharya (NYSB No. 5936000)
                                                             6116 Executive Boulevard, Suite 425
                                                             North Bethesda, Maryland 20852

                                                             and
                                                             3445 Winton Place, Suite 228
                                                             Rochester, New York 14623
                                                             Tel.: (240) 356-8550
                                                             Facsimile: (240) 356-8558
                                                             Email: jschulman@schulmanbh.com
                                                                     kbhattacharya@schulmanbh.com

                                                               Counsel for Plaintiff
                                      WORD COUNT CERTIFICATION

                 I certify that the foregoing memorandum of law complies with the word-count limitation

          in Rule 17 of the Rules of Practice for the Commercial Division (22 NYCRR § 202.70 (g)) because

          it contains 1,619 words, exclusive of the cover page and signature block. In making this

          certification, I rely on the word-count feature of Microsoft Word, which was used to prepare the

          document.

                                                             /s/ Koushik Bhattacharya




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                                                                                                                                                             UCS-840
                                                REQUEST FOR JUDICIAL INTERVENTION                                                                       (rev. 11/24/2022)
                                             SUPREME
                                             _______________                     MONROE
                                                             COURT, COUNTY OF _______________
                                      Index No: _______________      Date Index Issued: _______________                                             For Court Use Only:
 CAPTION         Enter the complete case caption. Do not use et al or et ano. If more space is needed, attach a caption rider sheet.                    IAS Entry Date

 THREE AMIGOS HOLDINGS, INC.
                                                                                                                       Plaintiff(s)/Petitioner(s)       Judge Assigned
 -against-

 MAXBEN HOLDINGS, LLC                                                                                                                                    RJI Filed Date


                                                                                                                  Defendant(s)/Respondent(s)
 NATURE OF ACTION OR PROCEEDING               Check only one box and specify where indicated.
 COMMERICIAL                                                                                MATRIMONIAL
    Business Entity (includes corporations, partnerships, LLCs, LLPs, etc.)                   Contested
    Contract                                                                                  NOTE: If there are children under the age of 18, complete and attach the
    Insurance (where insurance company is a party, except arbitration)                        MATRIMONIAL RJI ADDENDUM (UCS-840M).
    UCC (includes sales and negotiable instruments)                                           For Uncontested Matrimonial actions, use the Uncontested Divorce RJI (UD-13).
    Other Commercial (specify): _______________________________________________ REAL PROPERTY                     Specify how many properties the application includes: _______
    NOTE: For Commercial Division assignment requests pursuant to 22 NYCRR 202.70(d),         Condemnation
    complete and attach the COMMERCIAL DIVISION RJI ADDENDUM (UCS-840C).                      Mortgage Foreclosure (specify):          Residential          Commercial
 TORTS                                                                                        Property Address: ____________________________________________________
    Adult Survivors Act                                                                       NOTE: For Mortgage Foreclosure actions involving a one to four-family,
    Asbestos                                                                                  owner-occupied residential property or owner-occupied condominium,
    Environmental (specify): __________________________________________________               complete and attach the FORECLOSURE RJI ADDENDUM (UCS-840F).
    Medical, Dental or Podiatric Malpractice                                                  Partition
    Motor Vehicle                                                                             NOTE: Complete and attach the PARTITION RJI ADDENDUM (UCS-840P).
    Products Liability (specify): ________________________________________________            Tax Certiorari (specify): Section:________ Block:________ Lot:________
    Other Negligence (specify): ________________________________________________              Tax Foreclosure
    Other Professional Malpractice (specify): _____________________________________           Other Real Property (specify): __________________________________________
    Other Tort (specify): ______________________________________________________ OTHER MATTERS
 SPECIAL PROCEEDINGS                                                                          Certificate of Incorporation/Dissolution [see NOTE in COMMERCIAL section]
    Child-Parent Security Act (specify): Assisted Reproduction          Surrogacy Agreement   Emergency Medical Treatment
    CPLR Article 75 – Arbitration            [see NOTE in COMMERCIAL section]                 Habeas Corpus
    CPLR Article 78 – Proceeding against a Body or Officer                                    Local Court Appeal
    Election Law                                                                              Mechanic’s Lien
    Extreme Risk Protection Order                                                             Name Change/Sex Designation Change
    MHL Article 9.60 – Kendra’s Law                                                           Pistol Permit Revocation Hearing
    MHL Article 10 – Sex Offender Confinement (specify):           Initial         Review     Sale or Finance of Religious/Not-for-Profit Property
    MHL Article 81 (Guardianship)                                                             Other (specify): ______________________________________________________
    Other Mental Hygiene (specify): ____________________________________________
    Other Special Proceeding (specify): _________________________________________
 STATUS OF ACTION OR PROCEEDING                  Answer YES or NO for every question and enter additional information where indicated.
                                                                                 YES       NO
 Has a summons and complaint or summons with notice been filed?                                   If yes, date filed:    ___________________
 Has a summons and complaint or summons with notice been served?                                  If yes, date served: ___________________
 Is this action/proceeding being filed post-judgment?                                             If yes, judgment date: ___________________
 NATURE OF JUDICIAL INTERVENTION                 Check one box only and enter additional information where indicated.
      Infant’s Compromise
      Extreme Risk Protection Order Application
      Note of Issue/Certificate of Readiness
      Notice of Medical, Dental or Podiatric Malpractice Date Issue Joined: ___________________
  x   Notice of Motion                                   Relief Requested: ______________________________            Return Date: ___________________
      Notice of Petition                                 Relief Requested: ______________________________            Return Date: ___________________
      Order to Show Cause                                Relief Requested: ______________________________            Return Date: ___________________
      Other Ex Parte Application                         Relief Requested: ______________________________
      Partition Settlement Conference
      Poor Person Application
      Request for Preliminary Conference
      Residential Mortgage Foreclosure Settlement Conference
      Writ of Habeas Corpus
      Other (specify): ____________________________________________________________________________


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 RELATED CASES
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                                                                     RECEIVED   NYSCEF: 09/18/2023
                         List any related actions. For Matrimonial cases, list any related criminal or Family Court cases. If none, leave blank.
                         If additional space is required, complete and attach the RJI ADDENDUM (UCS-840A).
 Case Title                                  Index/Case Number         Court                             Judge (if assigned)       Relationship to instant case




 PARTIES                 For parties without an attorney, check the “Un-Rep” box and enter the party’s address, phone number and email in the space provided.
                         If additional space is required, complete and attach the RJI ADDENDUM (UCS-840A).
 Un- Parties                                      Attorneys and Unrepresented Litigants                                            Issue Joined            Insurance Carriers
 Rep List parties in same order as listed in the For represented parties, provide attorney’s name, firm name, address, phone and   For each defendant,     For each defendant,
     caption and indicate roles (e.g., plaintiff, email. For unrepresented parties, provide party’s address, phone and email.      indicate if issue has   indicate insurance
     defendant, 3rd party plaintiff, etc.)                                                                                         been joined.            carrier, if applicable.
     Name: Three Amigos Holdings, Inc. Koushik Bhattacharya, Esq., Schulman Bhattacharya LLC,3445 Winton Place, Suite 228
     Role(s):                                     Rochester, New York 14623, (240) 356-8550, kbhattacharya@schulmanbh.com               YES        NO
                 Plaintiff
      Name: Maxben Holdings, LLC
                                                Marshall Dworkin, Esq., Moritt Hock & Hamroff LLP,1407 Broadway 39th floor,                     xx
                                                                                                                                                x NO
      Role(s):                                                                                                                          YES
                                                New York, NY 10018, (212) 239-2000, mdworkin@moritthock.com
                 Defendant
      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

      Name:
      Role(s):                                                                                                                          YES        NO

 I AFFIRM UNDER THE PENALTY OF PERJURY THAT, UPON INFORMATION AND BELIEF, THERE ARE NO OTHER RELATED ACTIONS OR PROCEEDINGS,
     EXCEPT AS NOTED ABOVE, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUSLY FILED IN THIS ACTION OR PROCEEDING.


            09/18/2023
 Dated: ___________________                                                                  /s/ Koushik Bhattacharya
                                                                                          _______________________________________________________
                                                                                                                      Signature
                        NYSB No. 5936000
  ________________________________________________________                                                   Koushik Bhattacharya
                                                                                          _______________________________________________________
                  Attorney Registration Number                                                                   Print Name
                                                                                 2 of 2
FILED: NEW YORK COUNTY CLERK 09/18/2023 05:35 PM                                                                      INDEX NO. 654562/2023
                                                                                                                                   Print Form
NYSCEF DOC. NO. 8Case 1:23-cv-08798-DLC Document 1-1 Filed 10/06/23 Page 30 of 30
                                                                     RECEIVED   NYSCEF: 09/18/2023
   SUPREM E COURT OF THE STATE OF NEW YORK                                                                                             U C S -840C
                                                                                                                                         3/2011

   COUNTY OF New  York
              _______________________________
   __________________________________________________x                               Index No. __________________________________
   THREE AMIGOS HOLDINGS, INC.                                                       RJI No. (if any) _____________________________
                                                   Plaintiff(s)/Petitioner(s)
    -against-
   MAXBEN HOLDINGS, LLC                                                              COMMERCIAL DIVISION
                                                   Defendant(s)/Respondent(s)        Request for Judicial Intervention Addendum
   __________________________________________________x
   COM PLETE W HERE APPLICABLE [add additional pages if needed]:
   Plaintiff/Petitioner’s cause(s) of action [check all that apply]:
    G    Breach of contract or fiduciary duty, fraud, misrepresentation, business tort (e.g. unfair competition), or statutory and/or common
         law violation where the breach or violation is alleged to arise out of business dealings (e.g. sales of assets or securities; corporate
         restructuring; partnership, shareholder, joint venture, and other business agreements; trade secrets; restrictive covenants; and
         employment agreements not including claims that principally involve alleged discriminatory practices)
    G    Transactions governed by the Uniform Commercial Code (exclusive of those concerning individual cooperative or condominium
         units)
    G    Transactions involving commercial real property, including Yellowstone injunctions and excluding actions for the payment of rent
         only
    G    Shareholder derivative actions — without consideration of the monetary threshold
    G    Commercial class actions — without consideration of the monetary threshold
    G    Business transactions involving or arising out of dealings with commercial banks and other financial institutions
    G    Internal affairs of business organizations
    G    Malpractice by accountants or actuaries, and legal malpractice arising out of representation in commercial matters
    G    Environmental insurance coverage
    G    Commercial insurance coverage (e.g. directors and officers, errors and omissions, and business interruption coverage)
    G    Dissolution of corporations, partnerships, limited liability companies, limited liability partnerships and joint ventures — without
         consideration of the monetary threshold
    G    Applications to stay or compel arbitration and affirm or disaffirm arbitration awards and related injunctive relief pursuant to CPLR
         Article 75 involving any of the foregoing enumerated commercial issues — without consideration of the monetary threshold

    Plaintiff/Petitioner’s claim for compensatory damages [exclusive of punitive damages, interest, costs and counsel fees claimed]:

         $ 552,287.50
           _______________________________________________________________________________________

    Plaintiff/Petitioner’s claim for equitable or declaratory relief [brief description]:
        N/A
         _________________________________________________________________________________________

         _________________________________________________________________________________________

         _________________________________________________________________________________________

    Defendant/Respondent’s counterclaim(s) [brief description, including claim for monetary relief]:
        N/A
         _________________________________________________________________________________________

         _________________________________________________________________________________________

         _________________________________________________________________________________________

    I REQUEST THAT THIS CASE BE ASSIGNED TO THE COM M ERCIAL DIVISION. I CERTIFY THAT THE CASE
    M EETS THE JURISDICTIONAL REQUIREM ENTS OF THE COM M ERCIAL DIVISION SET FORTH IN 22 NYCRR §
    202.70(a), (b) AND (c).

             09-18-2023                                                              /s/ Koushik Bhattacharya
    Dated: ________________________                                             __________________________________________
                                                                                                  SIGNATURE


                                                                                   Koushik Bhattacharya
                                                                                   __________________________________________
                                                                                              PRINT OR TYPE NAM E
                                                                          1 of 1
